

Matter of Fernandes (2023 NY Slip Op 01571)





Matter of Fernandes


2023 NY Slip Op 01571


Decided on March 23, 2023


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:March 23, 2023

PM-62-23
[*1]In the Matter of Sue-Ellen Cassiana Fernandes, a Suspended Attorney. Attorney Grievance Committee for the Third Judicial Department, Petitioner; Sue-Ellen Cassiana Fernandes, Also Known as Sue-Ellen Cassiana Braverman, Respondent. (Attorney Registration No. 4434312.)

Calendar Date:December 27, 2022 

Before:

Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.
Sue-Ellen Cassiana Braverman, Hertfordshire, England, respondent pro se.



Motion by respondent for an order reinstating her to the practice of law following her suspension by October 2021 order of this Court (Matter of Attorneys in Violation of Judiciary Law § 468-a, 198 AD3d 1068, 1075 [3d Dept 2021]; see Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.16; Rules of App Div, 3d Dept [22 NYCRR] § 806.16).
Upon reading respondent's notice of motion and affidavit with exhibits sworn to November 12, 2022 and the December 19, 2022 correspondence from the Attorney Grievance Committee for the Third Judicial Department, and having determined, by clear and convincing evidence, that (1) respondent has complied with the order of suspension and the Rules of this Court, (2) respondent has the requisite character and fitness to practice law, and (3) it would be in the public interest to reinstate respondent to the practice of law (see Matter of Attorneys in Violation of Judiciary Law § 468-a [Shea], 211 AD3d 1322, 1322 [3d Dept 2022]), it is,
ORDERED that respondent's motion for reinstatement is granted; and it is further
ORDERED that respondent is reinstated as an attorney and counselor-at-law, effectively immediately.
Egan Jr., J.P., Clark, Pritzker, Ceresia and McShan, JJ., concur.








